            Case 1:22-cr-00220-TSC Document 29 Filed 12/12/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )
       v.                                     )       Criminal No. 22-cr-220 (TSC)
                                              )
                                              )
MARVIN SMITH,                                 )
                                              )
                                              )
                                              )
    Defendant.                                )
                                              )

                                             ORDER

       As discussed at the November 28, 2022 pretrial conference, the parties have agreed on

the voir dire statement of the case and questions, preliminary jury instructions, verdict form, and

final jury instructions. The court plans to use those agreed-upon materials for the trial, subject to

the following non-substantive changes:

   •   Each voir dire question is now followed by an instruction for the potential jurors to write

       the question number down if their answer to that question is “yes”;

   •   Redbook Instruction 1.202, “Caution Use of Internet and Publicity,” will be incorporated

       into the preliminary jury instructions rather than being given during trial;

   •   Redbook Instruction 1.103A, “Stipulation of Fact,” has not been included in the

       instructions because the parties have not entered any stipulations, but will be added if the

       parties enter any stipulations;

   •   Redbook Instruction 2.502, “Selection of Foreperson,” has been moved to later in the

       final jury instructions;
          Case 1:22-cr-00220-TSC Document 29 Filed 12/12/22 Page 2 of 2




   •   Redbook Instruction 2.505, “Possible Punishment Not Relevant,” has been moved to

       earlier in the final jury instructions; and

   •   Redbook Instructions 3.101 and 3.104, “State of Mind” and “Possession – Defined” have

       been moved to later in the final jury instructions.

Copies of the materials the court plans to use are attached as exhibits to this Order.



Date: December 12, 2022


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge
